           Case 8:25-cv-00951-PX              Document 226       Filed 07/10/25    Page 1 of 1
                                                                                         ____ FILED ___ ENTERED
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                               KILMAR ARMANDO ABREGO GARCIA, ET AL.
                                                                                          6:08 pm, Jul 10 2025
                                                        vs.                              AT GREENBELT
                                                                                         CLERK, U.S. DISTRICT COURT
                                                                                         DISTRICT OF MARYLAND
                                            KRISTI NOEM, ET AL.                                    TD
                                                                                         BY ______________Deputy



Civil No. PX 25-951                              PLAINTIFFS’ EVIDENTIARY HEARING Exhibits



  Exhibit No.            Identification      Admitted         Witness             Description

           1                 July 10 2025   July 10 2025       Giles    ICE – ERO regarding
                                                                        Abrego Garcia dated
                                                                        4/23/2025
           2                 July 10 2025   July 10 2025       Giles    Email dated 7/9/2025 to All
                                                                        ICE Employees regarding
                                                                        Third Country Removals
                                                                        Following the Supreme
                                                                        Court’s Order in DHS v.
                                                                        D.V.D., No. 24A1153




Exhibit List (Rev. 3/1999)
